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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY


  PAUL HAN, individually and on behalf of a
  class of similarly situated persons,                         Civil Action No. 21-04219 (JXN) (JRA)

                            Plaintiffs,
                   V.

                                                                 MEMORANDUM AND ORDER
  STATE FARM FIRE AND CASUALTY
  COMPANY,

                            Defendant.



 NEALS, District Jud^e

         This matter comes before the Court on Defendant State Farm and Casualty Company's


 ("State Farm" or "Defendant") Motion to Dismiss Plaintiff Paul Han's ("Plaintiff) Complaint

 (ECF No. 5), and Motion to Compel Appraisal and Stay (ECF No. 7). The Court has carefully

 considered the parties' submissions and decides the matter without oral argument pursuant to


Federal Rule of Civil Procedure 78 and Local Civil Rule 78.1 (b). For the reasons set forth below,

Defendant's Motion to Compel Appraisal and Stay is granted. Defendant's Motion to Dismiss

Plaintiffs Complaint is denied as moot.

I. FACTUAL BACKGROUND AND PROCEDURAL HISTORY

        This action arises out of an insurance dispute. Plaintiff is the owner of real property located


at 46 Chateau Road, Palisades Park, New Jersey (the "Property"), (ECF No.1, Ex. 1, Complaint


("CompL") ^ 45, 47.) Plaintiffs Property was insured under a property and casualty insurance

policy issued by State Farm (the "Policy"), (Compl. ^ 46.)1 On July 27, 2020, the Property was




1 State Farm submitted a certified copy of the Policy as Exhibit I to its Motion to Dismiss on March 26, 2021 (See
ECFNo. 5-1) and included an excerpt of the Policy's "Appraisal" provision as Exhibit 7 to the Declaration of Robert
T. Pindulic ("Pindulic Dec.") with its Motion to Compel Appraisal and Stay Case. (See ECF No. 7-2.)
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damaged by fire. (Compl. fl 45, 47.) Plaintiff submitted an insurance claim under his Policy.

(Compl.1[49.)

         On October 23, 2020, State Farm provided Plaintiff with an estimate of the costs to repair

his Property, along with an actual cash value payment of $219,475.26 to cover those estimated


repair costs. (ECF No. 7-2, Declaration of Robert T. PinduUc ("Pmdulic DecL"), Exs. 1, 2.)


Plaintiff claims that State Farm applied the incorrect price setting in the Xactimate software

program2 to estimate of the replacement costs of the loss to his Property, resulting in an


underpayment of his claim. (Compl. ^ 13, 51, 66.) Specifically, Plaintiff alleges that despite

knowing his Property loss was a "partial loss only," State Farm applied the lower "new


construction" price setting in the Xactimate program rather than using the higher "reconstruction"


price setting to prepare his estimate. (Compl. fl 50-54, 66.)

         On February 4, 2021, Plaintiffs public adjuster, North Jersey Public Adjusters, Inc.

("NJPA"), emailed State Farm a competing estimate of the cost to repair the damage to Plaintiffs

Property, which was higher than State Farm's estimate. (Compl. ^ 52; Pindulic DecL, Ex. 3 at 72-

105.) Plaintiff claims State Farm "refused to reconsider its decision or to revise its estimate."


(CompL 1[ 53.) The same day, Plaintiff filed a lawsuit against State Farm in the Superior Court of

New Jersey, Law Division, Bergen County (Docket No. BER-L-794-21) ("State Court"). (See


Compl.)




2 The Xactimate software program is "widely used in the insurance industry to estimate the cost of damage caused by
fire and other insured risks." (M at ^ 11-12.) The program provides users with a choice of pricing repau' costs based
on work in restoration, service, or remodeling envu-onments (hereinafter referred to as "reconstruction") or based on
rebuilding in its entirety, from the foundation up, resulting from an actual or constructive total loss to the insured's
property (hereinafter referred to as "new construction. (Compl. <ff<U 18-21.) According to the Plaintiff, "for most
construction line items priced by Xactimate "the cost of that item for a reconstruction is higher than the pricing of the
same item for new construction" because it contemplates, for example, "the increased cost of demolition and
preparation necessitated by the existing damage." (CompL ^[ 22-23.)
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         Plaintiffs Complaint asserts four causes of action for Breach of Contract (Count One);

Tortious Bad Faith (Count Two); violation of the New Jersey Consumer Fraud Act ("NJCFA")

(Count Three) and Prima Facie Tort (Count Four). (Compl. ^[ 44-73.) In addition to his individual

claims. Plaintiff asserts class claims on behalf of "all State Farm property and casualty

policyholders" who suffered a "partial loss to real property as the result of a covered cause of


action within six years prior to the filing of this lawsuit, and as to whom State Farm relied upon

an Exactimate [sic] estimate based on new construction pricing rather than on reconstruction


pricing." (Compl. ^ 76.) The alleged classes include residents from New Jersey (Class A), New

York (Class B), Pennsylvania (Class C), and all other states (except for Texas, California and

Florida) (Class D). (Compl. ^ 75, 76, 80, 81, 82.)3 On March 5, 2021, State Farm removed this

action to the United States District Court for the District ofNew Jersey. (See ECF No. 1.)

         On March 15, 2021, State Farm sent Plaintiffs counsel a letter itemizing the parties'

disputes over the amount of loss and advising of State Farm's intention to demand appraisal if the


parties could not resolve their pricing dispute. (Pindulic Dec!., Ex. 4.) In the letter. State Farm


wrote: It appears that State Farm and NJPA agree on the scope of covered repairs to the house,


but disagree on the pricing for those repairs." {Id.}

        On March 26, 2022, State Farm invoked the Policy's appraisal provision. (Pindulic DecL,

Ex. 5.) According to the Policy's appraisal provision, either party may demand an appraisal to


determine the amount of loss. (ECF No. 5-1 at 64-65; ECF No. 7-1 at 3; Pindulic Decl. Ex. 7.)


Specifically, the appraisal provision of the Policy states:




3 The Complaint asserts the same breach of contract, bad faith and prima fade tort claims on behalf of the proposed
classes, along with class claims for violation of the NJCFA, violation of New York General Business Law Section
349(a), violation of the Pennsylvania Unfair Trade Practices and Consumer Protection Law, "Deceptive Practices"
under other "applicable consumer protection statutes," and common law fraud. (See Compl. ^ 90-397.)
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           Appraisal. If you and we fail to agree on the amount of loss, either party can
           demand that the amount of the loss be set by appraisal. Only you or we may demand
           appraisal. A demand for appraisal must be in writing. You must comply with
           SECTION I - CONDITIONS, Your Duties After Loss before making a demand
           for appraisal. At least 10 days before demanding appraisal, the party seeking
           appraisal must provide the other party with written, itemized documentation of a
           specific dispute as to the amount of the loss, identifying separately each item being
           disputed.


 (Pindulic Decl. Ex. 7) (emphasis in original.) Plaintiffs counsel responded to the demand on

 March 29,2022, advising that Plaintiff declined State Farm's request for appraisal. (Pindulic DecL,

 Ex. 6.)


           State Farm filed a Motion to Dismiss the complaint under Fed. R. Civ. P. 12(b)(6) and,

 with respect to Plaintiffs asserted class claims, under Fed. R. Civ. P. 12(b)(l) and 12(b)(6). (ECF

 No. 5.)4 On April 5, 2021, State Farm moved to compel an appraisal pursuant to the terms of


 Plaintiffs Policy with State Farm and stay the case pending completion of the appraisal process.

 (ECF No. 7.) Plaintiff opposed the motion (ECF No. 18) and Defendant replied in further support

 (ECF No. 21).

           The Court has jurisdiction over this case pursuant to 28 U.S.C. § 1332(d).

II. DISCUSSION

           The state of New Jersey requires that a basic fire insurance policy contain certain clauses,


 including an "appraisal" clause. See NJ.S.A. § 17:36-5.20. The purpose of an appraisal is "to


 submit disputes to third parties and effect their speedy and efficient resolution without recourse to

 the courts." Elberon Bathing Co., Inc. v. Ambassador Im. Co., Inc., 389 A.2d 439, 446 (NJ. 1978).


 "Federal and state courts in New Jersey have held that appraisal clauses in fire insurance policies


 are enforceable against both insurers and their insured. See, Shearer v. State Farm Fire & Cas.


 Co, 2017 WL 3611743, at *2 (D.N.J. Aug. 22, 2017) (citing Drescher v. Excelsior Ins. Co. of



 '' Plaintiff opposed the motion (ECF No. 6) and Defendant replied in further support (ECF No. 8),

                                                          4
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N.Y., 188 F. Supp. 158, 159 (D.N.J. I960), Hala Clecmers^ Inc. v. Sussex Mut. Ins. Co., 115 N.J.


Super. 11, 13, 277 A.2d 897, 898 (NJ. Super. Ct. Ch. Div. 1971) ("an insured as well as an


insurance company can insist that the appraisal procedures described in the standard form of fire


policy be followed"), "When the terms of an insurance contract are clear, it is the function of a


court to enforce it as written and not make a better contract for either of the parties." Kampfv.


Frcmklin Life Ins. Co., 33 NJ. 36, 43 (1960) (internal citation omitted).

        State Farm argues that it invoked its right to appraisal to resolve the dispute over the amount

of loss to Plaintiffs Property in accordance with the parties' Policy. (ECF No. 7-1 at 7.) State

Farm asserts that "until an appraisal is completed, it is impossible to know whether, in fact,


Plaintiffs [] claim was undervalued" as alleged in the Complaint. (M at 8.) In opposing the motion

Plaintiff argues that (1) there are "disputes about scope" between State Farm's repair estimate and


the estimate Plaintiffs public adjuster, NJPA, prepared "that would put this dispute beyond the

realm of appraisal" (See ECF No. 18, at 5, 11.) because "numerous issues of scope exist" this


dispute is not subject to appraisal, (Id. at 10-11); (2) Next, Plaintiff contends that State Farm's

invocation of the appraisal provision "is untimely because its conduct in committing fraud against


the insured during the adjustment process acted as a waiver of its right to demand appraisal, thereby

terminating that right," {Id. at 13); (3) Finally, Plaintiff argues that even if State Farm is entitled

to demand appraisal, it should be deferred to a later time as it would "defeat the interest of justice

to postpone for some indefinite period Plaintiffs right to pursue his claims and thereby expose

State Farm s massive fraud, (M at 16). The Court disagrees.


        Here, the Policy unambiguously provides that if the parties "fail to agree on the amount of


loss, either party can demand that the amount of the loss be set by appraisal. (Pindulic Decl. Ex.


7.) Plaintiff asserts, for the first time, that there are "numerous disputes over scope that cannot be
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appraised," and refers the Court to his expert Harold Tepper, P.E.'s "self-explanatory" report for


the "details explained" therein. (ECF No. 18 at 8, 10-11.) These alleged disputes over scope are


not part of Plaintiffs claims, to the contrary, the Complaint alleges that "[tjhe fire constituted a

covered occurrence under the [PJolicy" and State Farm has "acknowledged liability." (See e.g.,


Compl. T[1[ 48, 54-55, 60-61, 65-66, 71-72.) Plaintiff does allege however that State Farm's use of

Xactimate's lower, new construction pricing rather than reconstruction pricing when determining


the replacement value of his flre-damaged property resulted in a devaluation of his claim. (Compl.


fl 50-51.) Accordingly, it is clear to the Court that this is a pricing dispute that falls within the

scope of an appraisal. See Shearer, 2017 WL 3611743, at *3 (Plaintiffs' position regarding the

proper valuation method is immaterial to whether State Farm may seek an appraisal under the


Policy.); see also Enger v. AUstate Im. Co, 407 F. App'x 191, 193 (9th Cir. 2010) (affirming

dismissal of complaint in favor of appraisal of dispute over insurer's method of valuing actual cash


value); Bettorv.Esurance Property &Cas.Im. Co., No. 18-61860-Civ-Moreno/Seltzer,2019 WL


2245564, at *3 (S.D. Fla. Mar. 28, 2019) (granting motion to compel appraisal of dispute over

insurer's methodology for calculating actual cash value).


       Next, Plaintiff argues that State Farm's appraisal request is untimely because in its use of


new construction pricing, constitutes "fraud against the insured" and acted as a waiver of Its right


to demand appraisal..." (ECF No. 18 at 13.) First, the Court notes that "[wjaiver involves the


intentional relinquishment of a known right, and thus it must be shown that the party charged with

the waiver knew of his or her legal rights and deliberately intended to relinquish

them." Transamerica Occidental Life Ins. Co. v. Total Svs., Inc., 2008 WL 4601764, at *3 (D.N.J.


Oct. 15, 2008) (quoting Shebar v. Scmyo Bus. Sys. Co., 111 N.J. 276, 291, 544 A.2d 377 (1988)).

Other than claiming State Farm's waiver, Plaintiff has not provided the Court with anything that
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establishes an intentional relinquishment by State Farm of its right to appraisal. Additionally, the

Court finds that State Farm's demand was made within a reasonable time. State Farm notified


Plaintiff of its intention to seek appraisal and demanded the same within seven weeks of receiving

Plaintiffs competing estimate challenging the repair costs. Further, Plaintiff concedes that the

Policy's appraisal provision does not contain a limitation period, and that the filing of this lawsuit

does not preclude State Farm from of its right to appraisal under the Policy. (See id. at 12.) In fact,

the Policy states that "[n]o action will be brought against us unless there has been fall compliance

with all of the policy provisions." (PmduUc Decl. Ex. 7 at 219, ^ 6.)

        Finally, the Court finds that an appraisal is also timely here because it has the potential to

resolve the dispute between the parties, or, at minimum, to provide a factual basis for farther


discussion between the parties to determine if resolution is possible. Accordingly, State Farm's


demand for an appraisal is proper under the Policy, and the Court will grant State Farm's motion


to compel appraisal and stay the case pending the outcome of the appraisal process.


        The Court will not address State Farm's Motion to Dismiss Plaintiffs Complaint (ECF No.

5) on the merits in light of its ruling on State Farm's Motion to Compel. If the appraisal does not

resolve the dispute between the parties and the stay will be lifted and State Farm may renew its

motion. Accordingly,


        IT IS on this 30th day of June, 2022,

        ORDERED that the Motion to Compel Appraisal and Stay Case (ECF No. 7) is

GRANTED; and it is further

        ORDERED that this action is STAYED pending the appraisal to be conducted pursuant to

the Policy; and it is further
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        ORDERED that the Motion to Dismiss Plaintiffs' Complaint (ECF No. 5) is DENIED as

moot; and it is further

       ORDERED that the parties are to file a status report within sixty (60) days to update the

Court on the appraisal process.
